Case 2:04-cV-02689-.]P|\/|-de Document 26 Filed 08/10/05 Page 1_ of 2 Page|D 40

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lN THE uNITED s'rATEs DrsTRlC'r CouRT '""""""
WESTERN DISTRJCT oF rENNEssEE[];-', AU(; 10 AM ||= |g

 

   

WESTERN DIVISION
.IOHN MACK EDWARDS, mom M GOULD
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PLAINTlFF, W»u C_.‘=: :i-r .._;P=.,iPH£S
vs. NO. 04-2689 Ml V

CITY OF COVINGTON, TENNESSEE,
and RUSSELL BAILEY, in his capacity
as Mayor thereof,

DEFENDANTS.

 

ST|PULATED ORDER OF DlSIV||SSAL WITH PREJUD|CE

 

Corne now the parties, by and through their undersigned attorneys and, pursuant to Rule 41 (a)
of the Federal Rules ot` Civil Procedure, hereby stipulate, subject to approval of the Court, that
Plaintiff"s cause of action may b dismissed, With prejudice

9,
Respectful/ly/-sub itt d this J %\ day of August, 2005

%AJ//)//%?j\/g;(//a

Edward J. M/cKenney, Jr./ 5380

  
   

` Wayne

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SO ORD}:`RED.

partial

D STATES DISTRICT JUDGE

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Honorable J on McCalla
US DISTRICT COURT

